Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 1 of 19                     PageID 1373




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                     WESTERN DIVISION


  MUELLER BRASS CO.,

           Plaintiff/Counter-Defendant,

  v.                                                                  No. 2:20-cv-02496-SHL-atc

  DAVID CROMPTON,

           Defendant/Counter-Plaintiff.

  --------------------------------------------

  DAVID CROMPTON,

           Third-Party Plaintiff,
  v.

  MUELLER INDUSTRIES, INC.,

           Third-Party Defendant.


              DEFENDANT/COUNTER-PLAINTIFF DAVID CROMPTON’S
            MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL
        (1) MUELLER INDUSTRIES INC. TO PARTICIPATE IN DISCOVERY AND
       (2) MUELLER BRASS CO. TO PRODUCE A PRIVILEGE LOG, RESPONSIVE
         DOCUMENTS, AND COMPLETE RESPONSES TO INTERROGATORIES


           COMES NOW Defendant/Counter-Plaintiff, David Crompton (“Crompton”), by and

  through counsel, and submits this Memorandum in Support of Motion to Compel

  Plaintiff/Counter-Defendant Mueller Brass Co. (“MBC”) and Third-Party Defendant Mueller

  Industries Inc. (“MLI”) (collectively, the “Mueller Defendants”), respectfully stating as follows:

                                                 INTRODUCTION

           MBC filed this lawsuit last year seeking a payment from Crompton under a Personal

  Guaranty he gave to Antipodes Acquisitions Limited (“Antipodes”) to secure two notes between
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 2 of 19                     PageID 1374




  Antipodes and Quick Fitting, Inc. (“QFI”) (the “Antipodes Loans”). MBC later assumed the

  Antipodes Loans (which had been secured by QFI and Antipodes in the second order of priority),

  and a note from JP Morgan (the “JPM Loan”) (which had been secured in the first order of

  priority). These first- and second-priority loans were always 100% secured by QFI’s assets, and

  when QFI entered Receivership in Rhode Island, the payment obligations of Crompton under the

  Guaranty should have come to an end through the judicial sale of QFI’s assets.

         Instead of allowing the Receivership to run its course, MBC voluntarily settled its claims—

  which included the JPM Loan, the Antipodes Loan, and a third loan (in the third order of priority)

  MBC had extended to QFI—with QFI’s Receiver in June 2021. In the recent settlement, MBC

  received: (1) a $9.5 MM payment from QFI; and (2) a release of liability for all claims QFI had

  against MBC. Notably, QFI’s Receiver had concluded that QFI had meritorious lender liability

  claims against MBC, and that MBC otherwise faced significant liability for its bad acts that helped

  drive QFI into receivership.

         In light of both QFI’s settlement payment (which exceeds by millions of dollars the

  amounts due under the JPM Loan and Antipodes Loans) and QFI’s release of liability provided to

  MBC (the value of which Crompton must be credited to any amounts due under the Guaranty

  under binding Sixth Circuit precedent), Crompton moved for judgment on the pleadings, or in the

  alternative, to dismiss on mootness grounds. (ECF No. 70-1 (Memorandum in Support), ECF No.

  84 (Reply Memorandum)). Crompton’s motion argues that MBC has been made whole through

  the recent settlement and can no longer show any damages in this case. For its part, MBC in

  opposition argues (ECF No. 81) that it is entitled to allocate QFI’s settlement payment to leave a

  debt remaining on the Antipodes Notes, but does not address two of Crompton’s arguments: (1)

  that he is entitled to the value of the release because it is something of value provided by QFI to




                                                  2
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 3 of 19                                     PageID 1375




  MBC in exchange for reducing the amount of indebtedness on the Antipodes Notes, see Wallace

  Hardware Co., Inc. v. Abrams, 223 F.3d 382, 406 (6th Cir. 2000) (holding the value of release of

  liability debtor provided to creditor must be credited to guarantor), and (2) that allocation of the

  settlement payment in a manner that does not satisfy the Antipodes Loans and which subordinates

  the loans to MBC’s own third-in-priority loan, would violate the terms of the Guaranty itself, see

  Crossville, Inc. v. Kemper Design Ctr., Inc., 758 F. Supp. 2d 517, 531 (M.D. Tenn. 2010)

  (discharging guarantor due to fundamental change in the nature of the risk). Crompton’s motion is

  pending.1

           Although Crompton believes he is entitled to judgment as a matter of law, out of an

  abundance of caution, Crompton has continued to move forward with discovery, which closes on

  January 5, 2022. In addition to noticing depositions for later this month (December), Crompton

  has requested documents and interrogatory responses from the Mueller Defendants, including

  requests that seek information on a fundamental question in this case: can MBC show that it has

  any damages given its June 2021 settlement with QFI’s Receiver?

           Instead of complying in good faith with its discovery obligations, the Mueller Defendants

  have done the opposite. MLI has refused Crompton’s request to produce any documents and

  provide substantive responses to any interrogatories. To justify its inaction, MLI has taken the

  position that it is not a proper party to this litigation and simply stated that it is not willing to

  engage discovery because it believes Crompton’s claims will be dismissed. See supra at 7–8.




  1
   Also pending are respective motions by MBC and MLI to dismiss Crompton’s counterclaims and third-party claims.
  (ECF Nos. 66, 67). As discussed below, MLI uses the pendency of its motion as a basis to decline to participate in
  discovery even though Crompton’s discovery extends to MBC’s claims against Crompton and MBC’s alleged
  damages, including its attempt to allocate the settlement payment to leave a debt remaining on the debt secured by the
  Guaranty.


                                                            3
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 4 of 19                                    PageID 1376




          For its part, MBC first moved for a protective order earlier this summer on Crompton’s

  initial discovery requests, claiming they were not relevant to its breach-of-guaranty claim and that

  MBC would prevail on a motion it planned to file to dismiss Crompton’s counterclaim. Magistrate

  Judge Claxton squarely denied MBC’s motion, finding “the questioned discovery items are now

  within the scope of discovery as they are now relevant to [Crompton’s] claims and defenses” and

  “[i]t would be prejudicial to [Crompton] to deny him currently permissible discovery on the chance

  that a yet-to-be-filed motion is granted.” (ECF No. 62 at 3.)

          Despite the Court’s ruling, MBC has failed to produce responsive documents and

  substantive interrogatory response. MBC instead essentially re-asserts the same relevancy

  objections that Magistrate Judge Claxton rejected and makes sweeping claims of privilege—

  without providing a privilege log Crompton has requested and MBC had promised in early October

  would be forthcoming but has failed to provide.2 For example, MBC has not produced, inter alia:

         Documents and other communications, including with MLI, related to its allocation of the

          settlement payment from QFI, which may help determine the remaining balance of the

          Antipodes Notes and any amounts due under Crompton’s Guaranty, if any;

         Documents and other communications related to the release of liability QFI provided to

          MBC in the settlement, the value of which must be deducted from any amount Crompton

          may owe under the Guaranty, see Wallace Hardware Co., 223 F.3d at 406 (guarantors

          “clearly are entitled to this credit against the amount owed under the Guaranty, since any

          reduction in [the debtor’s] indebtedness, whether through a cash payment or any other




  2
    MBC undoubtedly will claim that Crompton has not provided a similar log but that position is disingenuous. MBC
  never requested one from Crompton before the instant dispute, and MBC’s itself has asserted that damages and
  allocation are the key issues in this case (thereby making it difficult to see how any documents withheld by Crompton
  could be relevant).


                                                           4
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 5 of 19                     PageID 1377




           means, also serves to reduce the [guarantor’s] liability under the Guaranty—and this is so

           even where the reduction is achieved through an agreement to release a claim”);

          Internal communications and other documents regarding Crompton’s Personal Guaranty

           itself; and

          A Privilege Log.

  Furthermore, MBC’s responses to interrogatories are incomplete, evasive and contradict

  representations made to this Court in previous filings on these issues.

           Magistrate Judge Claxton recognized months ago the harm and prejudice to Crompton

  arising from the Mueller Defendants’ baseless objections and improper attempt to self-grant a stay

  of discovery. As it stands today, MBC has deprived Crompton of the ability to defend himself

  from the claim by showing the absence of MBC’s damages. Crompton therefore brings this motion

  to compel to seek an order compelling the Mueller Defendants to comply with their discovery

  obligations and, at a minimum, to produce a privilege log and discovery immediately on the facts

  and economic ramifications of the settlement (including the value of the release and allocation of

  the settlement payment).

                                     STATEMENT OF FACTS

  I.       RELEVANT PROCEDURAL BACKGROUND

           MBC filed this action on July 10, 2020. (ECF No. 1 “(Compl.”).) MBC’s Complaint

  asserts that Crompton, CEO and founder of QFI, breached the provisions of a personal guaranty

  that he provided to secure two loans between QFI and Antipodes, a New Zealand company owned

  by one of Quick Fitting’s preferred shareholders. (Compl. ¶¶ 21-22.) Prior to the commencement

  of this litigation, QFI entered Receivership proceedings in the Rhode Island Superior Court. (Id. ¶




                                                   5
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 6 of 19                   PageID 1378




  6.) MBC filed three secured claims—all of which were fully collateralized by QFI’s substantial

  assets—and various unsecured claims in the Receivership.

         On May 26, 2021, Crompton filed an Answer, Counterclaim and Third-Party Complaint,

  adding MLI as a third-party defendant, (ECF No. 50 (“Answer”)), which the Mueller Defendants

  moved to dismiss. Weeks later, MBC elected to negotiate a settlement with QFI’s Receiver as to

  its secured and unsecured debt. In June 2021, the Rhode Island Court presiding over the

  Receivership entered Final Judgment on its Order authorizing the Receiver to settle with MBC.

  (“Settlement Order”, filed as exhibit in this proceeding at ECF No. 70-2.) The Court approved

  only the aggregate payment of $9,487,500 to MBC and explicitly disavowed any endorsement or

  approval of an allocation of settlement proceeds that MBC attempted to make to the secured debt

  MBC held. (See Settlement Order ¶ 5.) MBC’s self-serving allocation purported to leave a debt

  remaining on the Antipodes Loan, yet fully paid MBC’s other loans out of the order of priority.

         In light of MBC’s settlement with the Receiver, which included QFI’s release of claims

  against MBC, Crompton filed an Amended Counterclaim and Third-Party Complaint on August

  6, 2021. (ECF No. 65.) The Mueller Defendants again sought dismissal of the counterclaims and

  third-party claims on nearly identical grounds as it did before. (ECF Nos. 66, 67.) Crompton

  simultaneously objected to the Mueller Defendants’ motions and filed a Motion for Judgment on

  the Pleadings to dismiss MBC’s claim, both of which were predicated on Crompton’s affirmative

  defense that MBC’s Complaint “may be barred, in whole or in part, by payment or settlement”

  (Answer at 11, ¶ H) and fails to state a claim under Rule 12(b)(6) (Id. at 10, ¶ A)—specifically,

  MBC’s inability to show damages due to the Receivership settlement—and/or alternatively should

  be dismissed under 12(b)(1) on grounds of mootness for the same reason. (See ECF Nos. 70, 71,

  72.) As noted, the parties’ motions remain pending.




                                                 6
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 7 of 19                      PageID 1379




  II.     PRIOR DISCOVERY DISPUTE AND MAGISTRATE JUDGE’S ORDER

          On April 7, 2021, Crompton served discovery requests on MBC. On April 29, 2021, MBC

  filed a Motion for a Protective Order seeking to be relieved of from responding to Crompton’s

  discovery. (ECF No. 41-1.) MBC argued that Crompton’s requests were overly broad or not

  relevant because “[i]t is a simple lawsuit” with a “narrow focus” (Id. at 8) and “this is a simple

  breach of a Personal Guaranty action[.]” (Id. at 9.) Crompton filed his opposition on June 2, 2021,

  arguing that the discovery sought was well within the permissible scope articulated by Rule 26(c)

  because it related directly to the affirmative defenses and claims raised in his Answer and

  Amended Counterclaim. (ECF No. 52.)

          On June 17, 2021, Magistrate Judge Claxton denied MBC’s motion (ECF No. 62), rejecting

  MBC’s argument that it had a unilateral right to determine relevancy and to stay discovery:

          [T]he third-party complaint and counterclaim change that analysis. A review of those
          documents indicates that the questioned discovery items are now within the scope of
          discovery as they are now relevant to the claims and defenses. Plaintiff’s only reply to this
          is its confidence that the third-party complaint and counterclaim will be dismissed. That
          is not enough to amount to good cause to grant the protective order. Plaintiff proposes
          staying the decision until a decision is made regarding the validity of the third-party
          complaint and counterclaim. This suggestion fails because the motion to dismiss those
          items has not been filed yet and there is no way to predict when the District Court will
          render its decision.
  (ECF No. 62 (“June 17 Order”) at 3 (emphasis added).)

          Judge Claxton also noted the firm January 5, 2022 closing of discovery and concluded that

  it would be prejudicial to Crompton to deny him permissible discovery:

          Further, in her Order Granting Joint Motion to Amend the Amended Scheduling Order and
          to Extend Deadline to Respond and Second Amended Scheduling Order, Judge Lipman
          ordered that “[no] further motions to amend this schedule or extend any deadline will be
          granted.” (emphasis in the original) (D.E. # 55) The deadline for completing discovery is
          January 5, 2022, six months and nineteen days from today. It would be prejudicial to
          Defendant / Third Party Plaintiff to deny him currently permissible discovery on the
          chance that a yet-to-be-filed motion is granted.

  (Id.)


                                                   7
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 8 of 19                      PageID 1380




  III.   MLI’S BLANKET REFUSAL TO PARTICIPATE IN DISCOVEY

         Despite Magistrate Judge Claxton’s ruling that the Mueller Defendants’ “confidence that

  the third-party complaint and counterclaim will be dismissed … is not enough to amount to good

  cause to grant the protective order,” (June 17 Order at 3), and the Court’s rejection of the Mueller

  Defendants’ proposal to stay discovery until its motions to dismiss are decided, MLI unilaterally

  has decided to refuse to participate in the discovery process. To date, it has not responded to

  requests related to (1) MBC’s claim against Crompton, or (2) Crompton’s claims against MLI.

  Moreover, MLI is long-overdue in sending Initial Disclosures, which were due without request 30

  days after service of process pursuant to Rule 26(a)(1)(D).

         For instance, on October 14, 2021, Crompton served his First Sets of Interrogatories and

  Requests for Production on MLI. On November 22, 2021, MLI served its Answers and Responses,

  attached hereto as Exhibits A and B. In lieu of complying with discovery rules and without

  seeking a protective order or stay from this Court, MLI repetitively asserts that it is not a proper

  party and has no obligation to respond to any of Crompton’s Document Requests. For example:

         REQUEST NO. 28: Please produce all documents and communications identified,
         referenced in, forming the basis of, or used in preparation of Your responses to
         Crompton’s interrogatories to MLI.

         RESPONSE: Mueller Industries is not a proper party to this litigation and asserts
         that no response to this Request is required. There are no documents to produce.

  Ex. B at 17; see also the first sentence of each of MLI’s responses. Likewise, MLI’s responses to

  Crompton’s Interrogatories simply state: “Mueller Industries is not a proper party to this litigation

  and asserts that no response to this Interrogatory is required…”. See Ex. A at 5-7.

  IV.    MBC’S IMPROPER OBJECTIONS AND DEFFICIENT WRITTEN RESPONSES
         AND DOCUMENT PRODUCTION

         On October 14, 2021, Crompton served his Second Set of Interrogatories and Requests for

  Production on MBC, most of which were aimed squarely at the issues of Crompton’s affirmative


                                                   8
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 9 of 19                                       PageID 1381




  defenses, MBC’s alleged damages and MBC’s allocation of the Receivership Settlement payment

  in May-June 2021. On November 12, MBC requested an extra seven days to respond to

  Crompton’s second sets of discovery requests, which Crompton accommodated given the then-

  pendency of the Court’s entry of the parties’ Protective Order.

           On November 22, MBC served its (1) Supplemental Responses to Crompton’s First Set of

  Interrogatories and Requests for Production of Documents and (2) its Responses to Crompton’s

  Second Set of Interrogatories and Requests for Production, attached hereto as Exhibits C–F. MBC

  also produced approximately 1,500 pages of (largely duplicative) documents with subdividers

  indicating the production was responsive only to Document Request Nos. 3, 4 and 8.3

           MBC’s written responses are largely a recitation of baseless objections and arguments that

  Magistrate Judge Claxton rejected five months ago, including that this dispute is a “straightforward

  case for breach of the Personal Guaranty” and “the relevant inquiry is narrow” are improper

  objections and provide no legal basis for refusing to cooperate with discovery requests for relevant

  information as ordered in this case. See, e.g., Ex. D at 5, 11-12, Ex. E at 5, 9. MBC also unilaterally

  attempts to limit the scope of discovery on the basis that Crompton lacks “standing.” For instance,

  paragraph 9 of MBC’s General Objections to Crompton’s second set of Interrogatories states:

           Mueller Brass generally objects to any Interrogatory that seeks information that is not
           relevant to the question of whether Mueller Brass may enforce Defendant Crompton’s
           Personal Guaranty. Each of the Interrogatories herein seeks information on matters that are
           not relevant or material to this breach of guaranty case. Nothing sought herein is relevant
           in this straightforward case for breach of the Personal Guaranty.... As such, the relevant
           inquiry is narrow.... Mueller Brass’ allocation of the settlement payment in the
           Receivership was entirely discretionary and Crompton has no standing challenge that

  3
   MBC’s November 22 responses failed to provide objections or responses to Requests Nos. 29–35. After Crompton
  pointed out the failure to timely object, MBC, on November 29, purported to serve “Revised Responses” to Request
  Nos. 29–35, attached hereto as Exhibit G. MBC’s counsel described the omission as a “clerical error.” See Wylie v.
  TransUnion, LLC, No. 3:16-CV-102, 2017 WL 4357981, at *7 (W.D. Pa. Sept. 29, 2017) (noting that “the ‘clerical
  error’ excuse is wholly incapable of verification by the Court.”); Blackmond v. UT Medical Group, Inc., 2003 WL
  22385678, at *1 (W.D. Tenn. Sept. 17, 2003) (“As a general rule, when a party fails to object timely to interrogatories,
  production requests, or other discovery efforts, objections thereto are waived.”). Crompton also notes that MBC’s
  counsel later characterized the failure as an “oversight” during the parties’ subsequent meet and confer call.


                                                             9
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 10 of 19                    PageID 1382




          allocation and, therefore, any discovery on the matter is irrelevant and beyond the scope
          and needs of the case.

  Ex. E at 3 ¶ 9. MBC’s General Objections to Crompton’s second set of document requests includes

  nearly identical language:

          ....As such, the relevant inquiry is narrow.... As set forth more fully in Mueller Brass’
          pending Motions to Dismiss and other filings —which are incorporated herein by
          reference— Crompton has no standing to raise any claim or defense belonging to the
          principal obligor Quick Fitting and, therefore, any documents sought in furtherance of this
          subject matter is entirely irrelevant.

  Ex. F at 3 ¶ 9.

  V.      CROMPTON’S DEFICIENCY LETTER AND PARTIES’ MEET AND CONFER

          On November 26, four days after receiving MBC’s deficient responses and production,

  Crompton’s counsel sent MBC’s counsel a letter detailing the said deficiencies, attached hereto as

  Exhibit H. Crompton’s deficiency letter includes a detailed chart that shows that MBC continues

  to make improper objections and assert increasingly contradictory formulations to evade

  Crompton’s discovery requests, many of which are squarely aimed at the unquestionably relevant

  issue of MBC’s alleged damages and Crompton’s affirmative defenses. Ex. H at 3-9.

          At a November 30 conference call among counsel for the parties, MBC agreed that its

  damages and the allocation issue are pivotal for the disposition of this case. The Mueller

  Defendants’ counsel followed up this conference with a six-page letter, attached hereto as Exhibit

  I, largely criticizing Crompton and his counsel, and indicating that the Mueller Defendants would

  continue to withhold production of responsive documents. The Mueller Defendants’ threshold

  stated basis for refusing to comply was: “It is highly likely that Crompton’s claims will be

  dismissed. Crompton is simply not entitled to what he seeks, and Mueller Brass is confident that

  its motions will be granted.” Ex. I at 2. The Mueller Defendants thus unilaterally concluded: “As

  such, we are not willing to engage in enormously expensive and time-consuming discovery on



                                                  10
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 11 of 19                      PageID 1383




  irrelevant matters.” Id. at 4. More troubling, the Mueller Defendants admit their production was

  deficient and it did not produce all responsive documents, conceding “the number of responsive

  non-privileged documents [regarding the Receivership settlement and allocation of Receivership

  proceeds] appears to be minimal.” Id. at 4. At no point did the Mueller Defendants seek a stay of

  discovery in this action based on the pending dispositive motions or renew a motion for protective

  order after Judge Claxton previously denied such relief.

                               APPLICABLE LEGAL STANDARD

         As this Court is aware, the scope of discovery is governed by Federal Rule of Civil

  Procedure 26, which provides that “[p]arties may obtain discovery regarding any nonprivileged

  matter that is relevant to any party’s claim or defense and proportional to the needs of the case[.]”

  Fed. R. Civ. P. 26(b)(1). “The scope of discovery is, of course, within the broad discretion of the

  trial court.” Lewis v. ACB Business Servs., Inc., 135 F.3d 389, 402 (6th Cir. 1998). It is “of

  paramount importance that litigants be accorded the authority to seek out relevant evidence that

  they have been granted by the federal rules.” Farley v. Farley, 952 F. Supp. 1232, 1239 (M.D.

  Tenn. 1997).

         Discovery is supposed to proceed with minimal involvement of the Court. It is not a

  “court’s function to drag a party kicking and screaming through discovery.” Fed. Deposit Ins.

  Corp. v. Butcher, 116 F.R.D. 196, 203 (E.D. Tenn. 1986) (internal quotes omitted), aff’d, 116

  F.R.D. 203 (E.D. Tenn. 1987). If a party fails to respond to an interrogatory under Rule 33 or a

  request for production under Rule 34, or does so deficiently, and the parties have conferred in a

  good-faith attempt to resolve the dispute, the opposing party may file a motion to compel

  discovery. Fed. R. Civ. P. 37(a)(1), (3)(B)(iii)-(iv). This is especially true where a party's

  disclosure, answer, or response is “evasive or incomplete,” which “must” be treated as a failure to




                                                   11
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 12 of 19                        PageID 1384




  respond. Fed. R. Civ. P. 37(a)(4). And, as Rule 1 instructs, the Federal Rules of Civil Procedure

  “should be construed, administered, and employed by the court and the parties to secure the just,

  speedy, and inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.

                                             ARGUMENT

  I.     THIS COURT SHOULD COMPEL MBC TO PRODUCE ALL RESPONSIVE
         DOCUMENTS AND RESPOND FULLY TO INTERROGATORIES

         A. MBC’s Interrogatory Answers and Document Production Are Deficient
         MBC has declined to produce all responsive documents in its possession and respond to

  all of Crompton’s interrogatories on the basis that it “is confident that its motions [to dismiss] will

  be granted.” Ex. I at 4. Parties are not entitled to grant themselves a self-imposed stay of discovery

  and MBC’s positions lack a legitimate legal basis. In fact, Magistrate Judge Claxton squarely

  rejected this position in an earlier ruling in this case. See June 17 Order at 3; see also Clippinger

  v. State Farm Mut. Auto. Ins. Co., No. 220CV02482TLPCGC, 2021 WL 1894821, at *1 (W.D.

  Tenn. Apr. 22, 2021) (“the fact that a party has filed a case-dispositive motion is usually deemed

  insufficient to support a stay of discovery”). In addition, regardless of whether MBC’s motion to

  dismiss Crompton’s counterclaims, Crompton is entitled to discovery to defend himself from

  MBC’s claim and prove a lack of damages.

         Equally so, MBC cannot decide unilaterally which documents and information are relevant

  to this case, and which are not. United States v. Bd. of Trade of City of Chicago, Inc., 18 Fed. R.

  Serv. 2d 318 (N.D. Ill. 1973) (“The proposition that an adverse litigant may not unilaterally

  determine the scope of discovery needs no citation.... Plaintiff may no more dictate the range of

  Defendant's discovery by mere fiat than it may limit it by its present position.”); see also Hunter

  v. International Systems & Controls Corp., 56 F.R.D. 617, 622 (W.D. Mo. 1972) (court held that

  “[defendant’s] refusal to give the information on the ground that the defendant unilaterally and



                                                    12
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 13 of 19                     PageID 1385




  without seeking a ruling of the Court concluded ‘adjusted gross profit’ had no meaning in regard

  to these sales and contracts constituted a willful obstruction of discovery[.]”).

         Here, MBC must—at the very minimum—provide responses to Interrogatory Nos. 14–18

  immediately. The relevance and discoverability of information regarding the individuals involved

  in the Receivership settlement and allocation of proceeds (No. 14); valuation methodology and

  calculations regarding the release of QFI claims (No. 15), the “litigation risk” discount applied to

  the guaranteed Antipodes Loans (No. 16), valuation methodology and calculations regarding the

  “tax and accounting purposes” for MBC’s allocation of settlement proceeds (No. 17), and MLI’s

  SEC reporting of QFI’s secured debt and its settlement payment (No. 18) is beyond dispute, and

  this Court should order MBC to provide complete, accurate answers to each of these

  Interrogatories.

         In addition. MBC only has produced documents in response to three document requests,

  Nos. 3, 4 and 8. Irrespective of MBC’s subjective view of relevance, it must supplement its

  production and provide documents in response to Crompton’s remaining requests. See Medtronic

  Sofamor Danek, Inc. v. Michelson, No. 01-2373-GV, 2002 WL 33003691, at *5 (W.D. Tenn. Jan.

  30, 2002) (“The Federal Rules of Civil Procedure do not recognize irrelevance as a privilege or an

  objection that warrants redaction…. The relevance of a document is subjective, and according to

  the Federal Rules, should be construed broadly.”). In particular, MBC must produce documents

  responsive to Request Nos. 19, 23–24, 26 and 28, which seek all documents and communications

  related to: the Personal Guaranty (No. 19), the Intercreditor and Subordination Agreement which

  confirmed the order of priority of MBC’s secured claims (No. 23), MBC’s efforts to apply its

  secured claims toward a credit bid in the Receivership (No. 24), MBC’s claims for post-petition

  interest in the Receivership (No. 26), and the Receivership Settlement (No. 28).




                                                   13
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 14 of 19                        PageID 1386




         Consistent with Crompton’s deficiency letter and the foregoing, this Court should order

  MBC to comply with its discovery obligations by immediately supplementing its document

  production and responses to Crompton’s interrogatories, and providing a privilege log which fully

  meets the requirements of Rule 26, as discussed supra, at 15-16.

         B. This Court Should Compel MBC To Produce Documents Related To Its
            Purported Allocation of the Settlement Payment and the Value of Its Receipt of
            QFI’s Release of Claims Against MBC

             1. This Court already has recognized that the Receivership Settlement is relevant

         Early in this case, the Court has observed that “the receivership [of QFI] may affect the

  final damages in this case,” and “if the receivership changes the amount of the damages in this

  case, that change will be revealed long before the determination of damages in this case, if any

  exist.” ECF No. 47 (Order, dated May 12, 2021) at 8. It therefore is beyond dispute that the

  settlement that MBC voluntarily reached with QFI’s Receiver is relevant as it has the potential to

  reduce MBC’s damages (as Crompton has argued). See Fed R. Civ. P. 26(a)(1)(A)(iii) (requiring

  parties to disclose “a computation of each category of damages claimed by the disclosing party ...

  [and] make available for inspection and copying as under Rule 34 the documents or other

  evidentiary material, unless privileged or protected from disclosure, on which each computation is

  based, including materials bearing on the nature and extent of injuries suffered”); Pravak v. Meyer

  Eye Grp., PLC, No. 2:07-2433-MLV, 2009 WL 10664851, at *9–10 (W.D. Tenn. Oct. 22, 2009)

  (“[Defendant] seeks to discover any documents related to damage calculations, information that

  [plaintiff] is required to disclose to [defendant] as part of his Rule 26(a)(1) initial disclosures. ….

  [plaintiff] is obligated to not only respond with but also disclose, prior to the initiation of formal

  discovery procedures, all computations unless they are privileged.”) (emphasis in original).




                                                    14
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 15 of 19                         PageID 1387




              2. MBC should produce responsive documents immediately and prior to the
                 upcoming depositions
         Despite having had the obligation to produce all responsive documents, MBC has admitted

  in recent correspondence that responsive documents remain. See Ex. I at 4 (stating in response to

  Crompton’s deficiency letter “the number of responsive non-privileged documents appears to be

  minimal”). Depositions currently are scheduled for December 21 and 22 and MBC should be

  ordered to produce those documents well before that date.

              3. This Court Should Compel the Mueller Defendants to Provide a Privilege Log
                 Immediately

         To the extent the Mueller Defendants decline to produce any documents—particularly

  those related to allocation and the value of the release it obtained from QFI in the Receivership

  Settlement—on the basis of any privilege, the Mueller Defendants should be ordered to provide a

  privilege log immediately. In his requests for production, attached hereto as Exhibit J, Crompton

  specifically stated that should MBC claim privilege, it should produce a log and for each such

  document:

              a. identify and describe each such document by date, author, and recipient;

              b. identify each person, and his or her job title, (other than stenographic or clerical
                 assistance) participating in the preparation of the document;

              c. identify each person to whom the contents of the document have been
                 communicated by copy, exhibition, reading, or summarization;

              d. provide a brief summary of its contents;

              e. state the privilege or privileges in sufficient detail so that the United States District
                 Court, or other judicial entity, may adjudicate the validity of the claim. You are
                 required to set forth as to any document for which privilege, attorneys’ work
                 product or trial preparation materials is claimed: the nature of the privilege claimed,
                 the grounds relied upon for the claim of privilege (with specificity), the person who
                 claims the privilege and whether there has been any waiver of the privilege. If there
                 has been a waiver, provide a detailed description of the circumstances surrounding
                 the waiver[.]


                                                    15
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 16 of 19                       PageID 1388




  Ex. J at 5-6. See First Horizon Nat'l Corp. v. Houston Cas. Co., No. 2:15-CV-2235-SHL-DKV,

  2016 WL 5867268, at *5 (W.D. Tenn. Oct. 5, 2016) (“This court has previously held that to comply

  with Rule 26, the privilege log should contain the date and time of the document, the type of

  communication, the author, the addressee(s), identification of the recipients, the privilege asserted,

  and an explanation of the privilege claimed.”).

         In an October 6, 2021, email, attached hereto as Exhibit K, MBC promised both to produce

  responsive documents and to provide a privilege log. To date, no privilege log has been provided,

  and given MBC’s intransigence and the upcoming depositions, Crompton cannot afford to rely on

  MBC’s representations that it may provide one in the future.

  II.    THIS COURT SHOULD COMPEL MLI TO PARTICIPATE IN DISCOVERY

         MLI has refused to produce a single document in this case or provide a substantive written

  response. As noted, MLI’s position that it unilaterally may decide that it is not a proper party and

  need not comply with discovery has no basis in the law. “[E]ven with a dispositive motion pending,

  a party cannot unilaterally decide that it will not participate in discovery.” Davis v. Northpoint

  Senior Servs., No. 3:14-CV-106-PLR-HBG, 2015 WL 8752068, at *2 (E.D. Tenn. Dec. 14, 2015)

  (“Northpoint offers no law in support of its assertion that it ‘was, in fact, improperly named in this

  lawsuit, and is not required to respond and produce documents’, and the Court finds that this

  assertion is contrary to the Federal Rules of Civil Procedure.”); see also Bd. of Trade of City of

  Chicago, Inc., 18 Fed. R. Serv. 2d at 318.

         MLI’s position is particularly egregious because Crompton’s discovery requests address

  not only Crompton’s third party claim against MLI, but MBC’s claim against Crompton himself.

  Regardless of whether MLI’s motion to dismiss third party claims is granted, the information

  Crompton seeks from MLI is necessary for Crompton to defend against MBC’s breach-of-guaranty




                                                    16
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 17 of 19                                     PageID 1389




  claim and relevant to MBC’s damages (if any). In fact, Document Requests 14–16, 19–20, 22–24

  and Interrogatories 1–5 seek specific information related to damages. See Exs. A and B. MLI

  certainly has no basis for its failure to serve Rule 26(a)(1) disclosures. See Fed. R. Civ. P.

  26(a)(1)(D).

           Furthermore, in the Receivership, MBC’s counsel claimed it needed an allocation included

  in the settlement with QFI for “tax and accounting” purposes. As it turns out, that allocation was

  for MLI, and the allocation was directed by MLI, not MBC, as shown in MLI’s SEC filings

  reporting the 2020 the purchase of the QFI notes and the 2021 Receivership payment on the QFI

  notes. See MLI Form 10-Q for Nine Months Ending Sept 26, 2020, attached hereto as Exhibit L,

  at 33 (reporting “Cash Flows from Investing Activities” as follows: “The major components of net

  cash used in investing activities during the nine months ended September 26, 2020 included …

  the issuance of notes receivable of $9.2 million.”)4; cf. MLI Form 10-Q for Nine Months Ending

  June 26, 2021, attached hereto as Exhibit M, at 33 (Reporting “Cash Flows from Investing

  Activities” as follows: “The major components of net cash used in investing activities during the

  six months ended June 26, 2021 included (i) capital expenditures of $18.0 million and (ii) $13.9

  million for the purchase of H&C, net of cash acquired. These uses were partially offset by (i)

  payments received on notes receivable of $8.5 million[.]”).5 Although the Receivership Court

  rejected MBC’s proposed allocation, MBC continues to rely upon it to claim a deficiency on the

  Antipodes Loans and MBC’s reliance on said allocation appears to be reflected in MLI’s SEC

  filings. This information from MLI is plainly discoverable.6


  4
    Also available at https://muellerindustriesinc.gcs-web.com/static-files/d822fb61-f896-4fff-ba79-58fea0d0f398
  5
    Also available at https://muellerindustriesinc.gcs-web.com/static-files/7fd7168d-f8cd-4d04-93e1-c7d6c4d49cc2
  6
    Crompton also notes that despite settling with QFI’s Receiver and receiving a payment that satisfies the debt
  remaining on the Antipodes Loans (in full or in part), MBC has not supplemented/amended its required disclosures
  under Rule 26(a). To the extent that document is not received promptly. Crompton requests this Court to order MBC
  to supplement its Rule 26 disclosures. MLI, for its part, has not complied with the rule and filed any disclosure, and
  should be ordered to do the same.


                                                           17
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 18 of 19                    PageID 1390




         Furthermore, even leaving aside whether MLI is a proper third-party defendant in this case,

  the record shows that officers of MBC often served concurrently of MLI, (ECF No. 29-1, ¶ 4

  (declaration showing MBC senior officer concurrently held CFO position in MLI)), and Crompton

  engaged in discussions with many MLI officers, including its CEO (ECF No. 65 ¶¶ 24-27, 29-30)

  and President (id. ¶ 30). Given that MLI participated and directed the conduct that forms the basis

  for all of Crompton’s claims (ECF 65, ¶¶ 21, 24) and MLI was substantively involved in the

  conduct that forms the basis of MBC’s damages claim, MLI has no basis to unilaterally exempt

  itself from discovery.

                                          CONCLUSION

         The Mueller Defendants’ position suggests an utter indifference to discovery rules and the

  Magistrate’s June 17 Order. Discovery is set to close on January 5, and the Mueller Defendants’

  delayed and deficient discovery responses have significantly prejudiced Crompton. MBC and MLI

  are obligated under the rules make a full production of responsive documents and provide

  complete, non-evasive written responses to Crompton’s discovery requests. Thus far they have

  refused to do so. Therefore, this Court should enter an Order compelling MBC to provide complete

  answers to Crompton’s Interrogatories (and in particular Nos. 14–18) and produce all documents

  responsive to Crompton’s Document Requests (and in particular Nos. 19, 23–24, 26, and 28). The

  Court should order MLI likewise to answer Crompton’s Interrogatory Nos. 1–5 and to produce the

  documents requested in Crompton’s Document Request Nos. 1–2, 8–9, 11, 13–16, 19–24 and 26.

  The Court should order both Mueller Defendants to produce a privilege log in advance of the

  depositions currently scheduled for December 21 and 22. MLI Crompton also respectfully seeks

  costs in bringing this motion to compel. Fed. R. Civ. P. 37(a)(4); Power & Telephone Supply




                                                  18
Case 2:20-cv-02496-SHL-atc Document 96-1 Filed 12/07/21 Page 19 of 19               PageID 1391




  Company, Inc. v. Suntrust Banks, Inc., 2004 WL 784533 (W.D. Tenn. 2004) (citing Fed. R. Civ.

  P. 37(a)(4)).


                                            Respectfully submitted,

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                                              19
